     8:17-cr-00223-TMC       Date Filed 08/29/17    Entry Number 63       Page 1 of 9




                                           -l-
                 IN   THE DISTRICT COURT OF THE UNITED STATES
                       EOR THE DISTRICT OF SOUTH CAROIINA
                               GREENWOOD DIVI S ION



 UNITED STATES OF AMERICA                          Crirninal No: I : I7 cr223
                       v.
                                                            PI,EA AGREEMENT
DEUETRIS A}IEIION G@DE
        a/k/a rilieat"
                                 Geaeral ProvisioDs

       This              is made tnis /{-
                PLEA AGREEMENT               day of
20L7, bethreen the United States of America, as represented by
United States Attorney BETH DRAKE, Assist.anE United States
AEtorney Jeanne Howard; the Defendant, DIfiEfRIS                      aIIEWON G@DE,

a/k/a $Maat',, and Defendant's attorney,                Ryan   L.   BeasLey.

       IN   CONSIDERATION       of the mutual promises made herein, the
parties agree as fol-Lows:
1.     The Defendant agrees to plead guilty to Count 1 of the
       Indictment      now   pending, which charges a violation of Title                21

       United States Code, Sect.ion          846.

2.     The Defendant understands and agrees that monetary penalties
       Ii.e..    special assessments, restitution,                  fines and other
       payments required under          the sentencel imposed by the Court
       are due immediately and subject to enforcement by the United
       States as civil judgments, pursuant to 18                    USC   S 3613.   The

       Defendant also understands that payments made in accordance
8:17-cr-00223-TMC     Date Filed 08/29/17    Entry Number 63    Page 2 of 9




                                       -2-
    wiEh instalImenE. Echedules seE by bhe Court are                  minimum
    payments   only and do no! preclude the       governmenE    from eeeking
    t.o enforce Ehe judgment against oEher aEaeta         of   Ehe defendant.
    at any Eime, as provided in         18 UsC SS 3012, 3613 and 3684(m).
    The Defendant. furEher agree8 Eo enter into the Bureau of
    Prisons InmaEe Financial Reeponeibility program if             Eent.enced
    to a terl! of incarceration wlEh an unsatisfled                 moneEary
   penaLEy. The Defendant, furt.her u-nderat,anda Chat any monet.ary
   penalty imposcd ie noE diechargeable in bankrupEey..
       A. Special Aa8eesmenE: pursuant to L8 U.S.C.                   53013,
               the Defendant muat pay a epecial aEsee6menE of
               9100.00 for each felony count for which he ie
               convicE,ed. This. epecial asseasment must be paid              aE

               or before the.t,ime of Ehe guilEy plea hearing.
        B.     Restitut.ion: The DeEendant ag'reee Eo make. fu1l.
               restitut,ion under 18 U.S.C. S 3556 in an amounE Eo
               be determined by the Court aE the time of
               sentencing, which amount is noE Iimited to the
               count(6) t,o which Ehe Defendant. pled guilty, but.
               will   include reatitution tso each and every
               identifiable victlm who may have been barmed by hie
               scheme   or   paEEern   of crimlnal acEivity,    pursuanb to
               18 U.S.C. S    3553. The Defeudant agreee t,o cooperaE,e
 8:17-cr-00223-TMC         Date Filed 08/29/17    Entry Number 63      Page 3 of 9




                                            -3-
                     fully with Ehe covernmenE. in identslfying all
                     vlcEims.
                c.   Flne6: The Defendant underatsandE EhaE Ehe Court may
                     impose   a fine pureuant t,o 18 Ir.S.C. SS 3571             and

                     3572 .



3.   The Defendant, undcretanda Ehat the obligationa of                          Ehe

     cove rnments    within     Ehe PIea Agreement    are e>q>reasly cont,ingent
     upon the DefendanE's abiding by federal and                    state laws and
     complying erith any bond &ecuted             in this case. In        Ehe event
     t,hat the Defendant fails to comply with any of Ehe provisions
     of   EhiB Agreement, eicher cxpreeB           or implied,      Ehe covernmenE
     will       hawe Ehe   rigbE,   aC   ita 6ole election,   t,o   void all of its
            )
     obligationa under thie              AgreemenE and   the Defendant UiII     not,

     have aay righE to wiEhdraw bie plea oE guiLEy.. to                         tshe

     offense (s) enumeraEed here in.
                           Coopcratloa aud Rorfelture
4.                             fully Eruthful and forE,hright, with
     The DefendanE agreea r,o be
     fedcral, state and local law enforcement. agenciee by
     providing fu1l, complete and truthful informat.ion abouE. all
     criminal activit,iea about which he has knowledge. The
     Defendant muBE provide fulI,                    complete and, truthful
     debriefioge about. Ehese unlawful activitiea and musc fully
 8:17-cr-00223-TMC    Date Filed 08/29/17    Entry Number 63   Page 4 of 9




                                     -5-
                  Ehis Agreement. or any     prior proffer agreements, in
                  the prosecution of the      DefendanE   of aII   chargee.
5.   The DefendanE agrees Eo submit Eo such polygraph er(aminaE.ions

     as may be requetted by Ehe Government and agrees Ehat                 any'

     such examinaE.ions 6ha11 be performed by a polygraph examiner
     BelecEed   by the Goverament. Defendan! furlher agrees. that
     his. refueal Eo tsake or    his failure   t.o pass any such pollr,graph

     examinaEion Eo the covernment's aatigfaction           will reaulE,,     aE

     Ehe covernmenE'a      sole diecreEion, in Ehe obligaEiona of the
     GovernmenE   uiEhin   Ehe Agreement becoming      nufl and void.
6.   The GovernmenE agreea that. any       self - incriminaEing informacion
     provided by l,he DefendanE as a result of Ehe cooperation
     required by the    tserms   of Ehia Agreement., although available
     Eo the Court, will not, be used against the DefendanE in
     deEermining Ehe Defendant.'B applicable guideline range               for
     eenEencing purauant to the Ir.s.              sentencing      Commission

     Guidelinee. Tbe provieione of t.hie paragraph Ehall not                  be

     applied Eo restricE, any such informat,ion:.
          a.    krown   to the   Government    prior   tso Ehe datse   of thi8
                Agreement   ,.



          b.    concerniEg the existence of prior convicEione and
                senEenccB,-
 8:17-cr-00223-TMC         Date Filed 08/29/17   Entry Number 63   Page 5 of 9




                                         -6-
            c.      in a prosecution for perjury or givirrg a                  falEe
                    sEatement.; or
           d.       in   Ehe evenE, t.he DefendanE breachee any    of the      termE

                    of   Ehe PIea Agreements.

           e.       used   to rebut   any evidence   or   argumenEs       offered by
                    or   on behalf   of the DefendanE (iacluding          argumentsE

                    madeor iggues raioed Eua aponCe by Ehe Di6E,ric!
                    Courb) at. any aEage of the criminal proEecuEion
                    (including bail, tria}, and Eentencing)           .

7.   Provided Ehe Defendant cooperaEea aad complies wlE.h alL                   Ehe

     provieions of this PIea              Agreements   and Ehe     Defendant., s

     cooperaEion ie deemed by Ehe GovernmenE aE providing
     substanEial aeaiatance io the investigatsion or prooecuEion of
     anoEhe! perEon who has commitst,ed an offenee, Ehe AttorEeya
     for .the       Governments     agree to withdraw ..ats senteneing
     enhancemenE         enhancement (E) conEained in Ehe Informat,ion

     previou8ly filed pureuanE to 21 Il.s.C. S 8s1 seeking                       an
     enhanced mininumpenalty based on one prior felony drug
     convicEion, auch Ehat. t.he Defendants Ebould be held
     account,able    for no prior felony drug       convicElonE described        in
     that Information.               The DefendanE. underst and.s tshat the
     withdrar{ra1   of the   enhancemenE   (e) would be in lieu of a motion
     8:17-cr-00223-TMC    Date Filed 08/29/17     Entry Number 63        Page 6 of 9




                                        -7-
        for   downward deparbure purauanE             to secEion sKl-1 of the
        u.s.s.G.
                         llerEer Bpd Otsber Provlgloua
8.      The DefendanE and Ehe Government Etipulate and agree Eo the
        following for purposes of calculaElng Ehe                        DefendanE'a

        Bentence purEuant t.o    the UniEed     Stsat.e8       sentencing Commission
        Guidelines:
        a.    the   amounE   of cocaine aEEribuEable to the defendanE ie




        The Defendant undersEand6 thaE the8e Etipu1aEiong are                       noE

        blnding upon Ehe CourE or Ehe Unitsed           SEaEeE Probat    ion offiee,
        and Ehat. t.he Defendant haE no right to eriEhdrah, his pleas
        ehould these EEipulations not be accepEed. Furt,her,                        Ehe

        Defendant underEtanda and acknowledgee t.hat                              Ehese

        atipulatsione are binding on Ehe Government. only in                  tshe evenE

        thaE the DeEendant complies wiEh              AJ..,L   of the cerms of thls
       Agreement and does      not   conE,e6E   any   of the above EtipulationE
        or any readily provable relevanE         conducE,

9.     The Defendant repreEent,E Eo the courE Ehat he hae met wiEh
       hi6 atEorncy on a gufficienE           number      of occaeions and for         a

       sufficient period of Eille tso discu6s           Ehe Defendants'a case and

       receive advice; Ehat      Ehe Defendant hae been            truthful    wiEh his
         8:17-cr-00223-TMC        Date Filed 08/29/17        Entry Number 63     Page 7 of 9




                                                     -8-
              att.orutey and relat,ed        all    informat,ion   of   which   the   Def,endant

              ig aware perEaining to the caae; t,hat the Defendants and his
              aEEorney have discuesed poseible defensee, if                      any, Eo    Ehe

              chargee in t.he Indictment including the exiaEence of any
              exculpaEory or favorable evidence or wiEneegee, diecuesed the
              Dcfcndan!'s righE to a public E.ria} by jury or by the courE,
              tshe righE Eo the assiatance of counsel Ehroughout the
              proceedingE, Ehe rights to call witneeses in the DefendanE'a
              behatf and compel Eheir              aEEendance aE   trj-a1 by Eubpoena,      Ehe

              righE to     confront and crosa-examine the governmenE'E
                                    :'
              wit.neeeee, tshe Defendantr's righc to EeBtify in his or*n behalf,
                                               I
              or to remaln silent          andlihave no adverEe     inferenceg drawn from
              his eilence; and             thatsl Ehe Defendant, lriEh Ehe advice of
              counsel, has weighed the relative benefite of a trial by jury
              or. by Ehe Court .versuE a plea of gnrilty pursuant to Ehis
    ;         AgreemenE. and hag enEered t,his Agreement, as a matter of t.he
    I
    I
I
              DefendanE'E    free     and   voluntary choice, and not as a resulE, of
    I
              preoaure   or inCimidaElon by any person.
        10.   The DefendanE      ie   aware    that   18 U.S.C.   s 3742 and 28 u.S.c.         5

              2255 afford every defendants                 certain rights t.o conteEt          a

              convicE.ion and/or Bentence. , Acknowledging Eho6e                 right.s. the
              DefendanE, in exchange for the conceseions made by                            Ehe
                                       l
              covernment,   in   E.hie PIea Agreement, eraiveE Ehe         right, to cont,eat



                                      I
 8:17-cr-00223-TMC             Date Filed 08/29/17    Entry Number 63    Page 8 of 9




                                            -9-
         eitsher the convic!.ion or the        senEence    in   any direcE aPpea1 or

         oEher poaE-convictsion act.ion,          including any proceedings unde r
         28 U.S.C. S 2255. This waiver doea not aPPIy Eo claima of
         ineffective asslaEance of counsel, ProBecuEorial misconducE,
         or fuEure changes in the            1ae, Ehat    affect Ehe     defendanE's

         aetltence. This agreement doe6 noE affecE t,he righEe or
         obligaEione of Ehe GovernmenE aE set fortb in Ia U.s.c.                       s

         37 42   (bl   . Nor does it. IimiE the      GovernmenE   in iEB cofimenEs in
         or   reEponaeE tso any posts-senEencing matEerd.

11   .   The Defendant lraives       all rights,      whether aseerted   direetly or
         by a repreaentsatsive, to requeaE or receive from any            deParEmenE

         or   agency     of the   UniEed sEates any reeorde       pertal,ning to the
         inveetigaEion or prosecut.ion of this caae, ineluding without
         limiEat.lon a]ly record8 thaE may be            EoughE   under che   Ereedom

     .   .oE fnformation       Act, 5 U.S.C. S 552,..or tbe Privacy           AeE   of
         1974,5 U.S.C. S 552a.
t2. The parEiea bereby agree tbaE thie PIea Agreement conEains
    E.he ent,ire agreement of Ehe palties; that t,hie AgreemenE

         supersedee a1I       prior promieee.     repreEentaElons and aEatementE
         of the parEiee; thac tshis Agreement ehal1 not be binding on
         any parEy until the DefendanE tenders a plea of guilty Eo the

         court. having juriediccion over thiB mat.te!i thats thi6
         AgreemenE may        be modified only in lrriEing eigned by all
8:17-cr-00223-TMC     Date Filed 08/29/17      Entry Number 63   Page 9 of 9




                                     -10-
   parlie5; and     EhaE anY and    all ot.her promieea, repreE enEaEione
   and st,at emenEe, wheEher made           prior to,   contemporaneoua wit,h

   or afEer this Agreement., are nuII and void.



a+_rye)+

                            BETH DR]AKE



                                       HOWA{D (#os304     )
                               S   ISTAN! UNITED    STATES
